        Case
         Case2:13-cr-00147-LDG-GWF  Document 136-1
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8                               UNITED STATES DISTRICT COURT
9                                     DISTRICT OF NEVADA
10   UNITED STATES OF AMERICA,                      )     Case No.: 2:13-CR-147-LDG-GWF
                                                    )
11                 Plaintiff,                       )     [PROPOSED] ORDER GRANTING
                                                    )     REQUEST TO CONTINUE SENTENCING
12          vs.                                     )     OF DEFENDANT ANDREW YIM
                                                    )
13   ANDREW YIM,                                    )
                                                    )
14                 Defendant                        )
                                                    )
15

16          IT IS HEREBY ORDERED that the sentencing of the defendant, Andrew Yim presently
17                                                 Monday, April 13
     set for 3-30-15 be vacated and continued to __________________, 2015., at 10 AM in 6B.
18

19   DATED:        This _____ day of March , 2015
20

21                                             ___________________________________
                                               UNITED STATES DISTRICT JUDGE
22
                                               LLOYD D. GEORGE
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